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FH.ED BY ____, D.C.
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE 05 AUG 22 PH w 38
WESTERN DIVISION

 

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UNITED sTATES oF AMERICA, W%g§€?ézlng
Plaintiff,

vs. CR. NO. 05-20183-Ma

FREDERICK GWYNN,

-._/\_/\_/~.._,¢-._¢~._/V~_'~.._,¢

Defendant.

 

ORDER ON CONTINUBNCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for' a report date on. July 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case and to
allow for the mental evaluation of the defendant.

The Court granted the request and continued the trial
date to the rotation docket beginning November 7, 2005 at 9:30
a.m., with a report date of Friday, October 28, 2005 at 2:00 p.m.

The period from July 22, 2005 through November 18, 2005 is
excludable under 18 U.S.C. §§ 3161(h}(8)(B)(iv) and 316l{h)(l)(A)
because the interests of justice in allowing for additional time to
prepare and the mental evaluation of the defendant outweigh the
need for a speedy trial.

m.¢A

IT Is so onDERED this day of August, 2005.

j,,/M`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 27 in
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Honorable Samuel Mays
US DISTRICT COURT

